       Case 2:16-ap-01374-ER                Doc      Filed 06/24/16 Entered 06/24/16 14:51:40                          Desc Main
                                                    Document     Page 1 of 26

 Attorney or Party Name, Address, Telephone & FAX                    FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Jeremy V. Richards (CA SBN 102300)
 John D. Fiero (CA SBN 136557)
 Gail S. Greenwood (CA SBN 169939)
 Victoria A. Newmark (CA SBN 183581)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: 310/277-6910
 Facsimile: 310/201-0760
 Email: jrichards@pszjlaw.com
         jfiero@pszjlaw.com
         vnewmark@pszjlaw.com
         ggreenwood@pszjlaw.com
      Movant(s) appearing without an attorney
      Attorney for Movant(s)
                                            UNITED STATES BANKRUPTCY COURT
                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
 In re:
LIBERTY ASSET MANAGEMENT CORPORATION,        CASE NO.:2:16-bk-13575-TD

                                                                     CHAPTER: 11


                                                                            DECLARATION THAT NO PARTY
                                                                          REQUESTED A HEARING ON MOTION
                                                                                          LBR 9013-1(o)(3)


                                                                                          [No Hearing Required]
                                                       Debtor(s).


1. I am the       Movant(s) or       attorney for Movant(s) or        employed by attorney for Movant(s).

2. On (date): 05/26/16         Movant(s) filed a motion or application (Motion) entitled: Application of the Official
   Committee of Creditors Holding Unsecured Claims for Order Approving Employment of Development
   Specialists, Inc. as its Financial Advisor

3.   A copy of the Motion and notice of motion is attached to this declaration.

4.   On (date): 05/26/16       Movant(s), served a copy of     the notice of motion or     the Motion and notice of motion
     on required parties using the method(s) identified on the Proof of Service of the notice of motion.

5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response and
   request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by
   mail, electronically, or pursuant to F.R.Civ.P. 5(b)(2)(D), (E), or (F).

6. More than 28 days have passed after Movant(s) served the notice of motion.




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                       Page 2                    F 9013-1.2.NO.REQUEST.HEARING.DEC
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7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for hearing
   was timely filed.

8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
   address, email address, or facsimile number specified in the notice of motion.
 9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

WHEREFORE, Movant(s) requests that the court grant the motion and enter an order without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




    Date: 06/24/16                                      /s/ Jeremy V. Richards
                                                        Signature


                                                        Jeremy V. Richards
                                                        Printed name




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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067


A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION [LBR 9013-1(o)(3)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/24/16      , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 06/24/16      , I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

 David Trinh                                                           Scott Whitman
 Trinh Law                                                             Scott L. Whitman, Inc.
 99 N 1st St, Ste 200                                                  5670 Wilshire Blvd., Ste. 2170
 San Jose, CA 95113                                                    Los Angeles, CA 90036

                                                                                    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 06/24/16        , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Federal Express Overnight Delivery
Honorable Thomas B. Donovan
United States Bankruptcy Court Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1352 / Courtroom 1345
Los Angeles, CA 90012
                                                                                    Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

06/24/16            Sophia L. Lee                                              /s/ Sophia L. Lee
 Date                       Printed Name                                              Signature


          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Kyra E Andrassy kandrassy@swelawfirm.com,
         csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
        John D Fiero jfiero@pszjlaw.com, ocarpio@pszjlaw.com
        John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
        Barry S Glaser bglaser@swesq.com, erhee@swesq.com
        David B Golubchik dbg@lnbyb.com, dbg@ecf.inforuptcy.com
        Gail S Greenwood ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
        David S Henshaw david@henshawlaw.com, info@henshawlaw.com
        Jeffrey S Kwong jsk@lnbyb.com, jsk@ecf.inforuptcy.com
        Ian Landsberg ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-
         law.com;diana@landsberg-law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com
        Charles Alex Naegele alex@canlawcorp.com, alexnaegelelaw@gmail.com
        Victoria Newmark vnewmark@pszjlaw.com
        Queenie K Ng queenie.k.ng@usdoj.gov
        Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
        Mark Romeo romeolaw@msn.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        James S Yan jsyan@msn.com




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                                                                     1   JEREMY V. RICHARDS (CA SBN 102300)
                                                                         JOHN D. FIERO (CA SBN 136557)
                                                                     2   GAIL S. GREENWOOD (CA SBN 169939)
                                                                         VICTORIA A. NEWMARK (CA SBN 183581)
                                                                     3   PACHULSKI STANG ZIEHL & JONES LLP
                                                                         10100 Santa Monica Blvd., 13th Floor
                                                                     4   Los Angeles, CA 90067
                                                                         Telephone: 310/277-6910
                                                                     5   Facsimile: 310/201-0760
                                                                         E-mail: jrichards@pszjlaw.com
                                                                     6            jfiero@pszjlaw.com
                                                                                  vnewmark@pszjlaw.com
                                                                     7            ggreenwood@pszjlaw.com

                                                                     8   [Proposed] Attorneys for
                                                                         Official Committee of Unsecured Creditors
                                                                     9

                                                                    10
                                                                                                         UNITED STATES BANKRUPTCY COURT
                                                                    11
                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                                                                                                  LOS ANGELES DIVISION
                                                                    13
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                         In re:                                              Case No.: 2:16-bk-13575-TD
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                                                                         LIBERTY ASSET MANAGEMENT                            Chapter 11
                                                                    15   CORPORATION,

                                                                    16                               Debtor and              NOTICE AND OPPORTUNITY FOR
                                                                                                     Debtor in Possession.   HEARING REGARDING APPLICATION
                                                                    17                                                       OF THE OFFICIAL COMMITTEE OF
                                                                                                                             CREDITORS HOLDING UNSECURED
                                                                    18                                                       CLAIMS FOR ORDER APPROVING
                                                                                                                             EMPLOYMENT OF DEVELOPMENT
                                                                    19                                                       SPECIALISTS, INC. AS ITS FINANCIAL
                                                                                                                             ADVISOR
                                                                    20
                                                                                                                             [No hearing required pursuant to Local
                                                                    21                                                       Bankruptcy Rule 2014-1(b)(1)]

                                                                    22
                                                                         TO THE HONORABLE THOMAS B. DONOVAN, UNITED STATES BANKRUPTCY
                                                                    23   JUDGE, THE DEBTOR AND DEBTOR IN POSSESSION, THE OFFICE OF THE UNITED
                                                                         STATES TRUSTEE, AND ALL PARTIES REQUESTING SPECIAL NOTICE:
                                                                    24

                                                                    25            PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the
                                                                    26   “Committee”) appointed in the bankruptcy case of Liberty Asset Management Corporation (the
                                                                    27   “Debtor”) filed an application on May 26, 2016 [Docket No. 80] (“Application”) for the entry of an
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                                                                     1   order authorizing and approving the employment of Development Specialists, Inc. (“DSI” or the

                                                                     2   “Firm”), as financial advisor to the Committee in connection with the Debtor’s chapter 11 case,

                                                                     3   effective as of May 25, 2016, to perform the following services:

                                                                     4            a. trace cash receipts and disbursements to the ultimate source or asset and advise the
                                                                                     Committee on issues related to the tracing of cash as necessary;
                                                                     5
                                                                                  b. analyze intercompany and/or related party transactions of the Debtor and non-Debtor
                                                                     6               affiliates;
                                                                     7            c. advise and assist the Committee in identifying and/or reviewing any asset sales or other
                                                                                     pre-petition transactions, preference payments, fraudulent conveyances, and other
                                                                     8               potential causes of action that the Debtor’s estate may hold against insiders and/or third
                                                                                     parties;
                                                                     9
                                                                                  d. advise and assist the Committee in its analysis and monitoring of the Debtor’s and non-
                                                                    10               Debtor affiliates’ historical, current and projected financial affairs;
                                                                    11            e. develop strategies to maximize recoveries from the Debtor’s assets and advise and assist
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                     the Committee with respect to such strategies;
                                                                    12
                                                                                  f. evaluate any asset sales proposed by the Debtor;
                                                                    13
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                                  g. monitor the Debtor’s claims management process, analyze claims including guarantee
                                                                    14               claims, priority claims and potential deficiency claims and summarize claims by entity;
                                                                    15            h. analyze the Debtor’s and non-Debtor affiliates’ assets and analyze potential recoveries to
                                                                                     creditor constituencies under various scenarios and prepare the associated recovery
                                                                    16               waterfall;
                                                                    17            i. review and provide analysis of any plan of reorganization and disclosure statement
                                                                                     relating to the Debtor including, if applicable, the development and analysis of any plan
                                                                    18               of reorganization proposed by the Committee;
                                                                    19            j. advise and assist the Committee and its legal advisor in reviewing and evaluating any
                                                                                     court motions, applications, or other pleadings filed or to be filed by the Debtor, or any
                                                                    20               other parties-in-interest;
                                                                    21            k. attend Committee meetings and court hearings as may be required;
                                                                    22            l. render such other general business consulting or assistance as the Committee or its legal
                                                                                     advisor may deem necessary, consistent with the role of a financial advisor; and
                                                                    23
                                                                                  m. perform other potential services, including: rendering expert testimony, issuing expert
                                                                    24               reports and or preparing litigation, valuation and forensic analyses that have not yet been
                                                                                     identified but as may be requested from time to time by the Committee and its legal
                                                                    25               advisor.
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                                                                     1   The Application is made pursuant to sections 328(a) and 1103(a) of Title 11 of the United States

                                                                     2   Code (the “Bankruptcy Code”) and Rule 2014 of the Federal Rules of Bankruptcy Procedure (the

                                                                     3   “Bankruptcy Rules”).

                                                                     4            PLEASE TAKE FURTHER NOTICE that a true and correct copy of the
                                                                     5   Application can be obtained by contacting attorney Gail S. Greenwood, Pachulski Stang Ziehl &

                                                                     6   Jones LLP, 150 California Street, 15th Floor, San Francisco, CA 94111, telephone: (415) 263-7000,

                                                                     7   facsimile (415) 263-7010, email: ggreenwood@pszjlaw.com.

                                                                     8            PLEASE TAKE FURTHER NOTICE that subject to the provisions of the Bankruptcy

                                                                     9   Code, the Bankruptcy Rules, the Local Bankruptcy Rules, the United States Trustee Guidelines, and

                                                                    10   this Court’s rules, the Committee proposes to pay DSI its customary hourly rates in effect from time

                                                                    11   to time and to reimburse the Firm according to its customary reimbursement policies. The hourly
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   rates for the professionals expected to have primary responsibility for providing services to the

                                                                    13   Committee are:
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14
                                                                                            Position                          Hourly Rate
                                                                    15                      Senior Managing Directors         $575 - $695 per hour
                                                                    16                      Managing Directors / Directors    $320 - $460 per hour
                                                                    17                      Senior Associates / Associates    $170 - $290 per hour

                                                                    18            No promises have been given or received by DSI as to compensation in connection with this
                                                                    19   chapter 11 case other than in accordance with the provisions of the Bankruptcy Code. To the best of
                                                                    20   the Committee’s knowledge, neither DSI nor any of its employees have any connection with any
                                                                    21   party in interest, their attorneys or accountants, other than as set forth in the Declaration of Brad
                                                                    22   Sharp.
                                                                    23            PLEASE TAKE FURTHER NOTICE that that pursuant to Local Bankruptcy Rule
                                                                    24   2014-1(b)(1), a hearing is not required in connection with the Application unless requested by the
                                                                    25   United States Trustee, a party in interest, or otherwise ordered by the Court. Pursuant to Local
                                                                    26   Bankruptcy Rule 2014-1(b)(3), any response to the Application and request for hearing must be in
                                                                    27   the form prescribed by Local Bankruptcy Rule 9013-1(f)(1) and must be filed with the Court and
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                                                                     1   served upon the Committee, its proposed counsel, and the United States Trustee no later than

                                                                     2   fourteen days from the date of service of this notice.

                                                                     3

                                                                     4   Dated: May 27, 2016                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                     5
                                                                                                                       By:    /s/ Jeremy V. Richards
                                                                     6                                                 [Proposed] Attorneys for the Official
                                                                                                                       Committee of Unsecured Creditors
                                                                     7

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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): NOTICE OF FILING APPLICATION FOR AN
ORDER AUTHORIZING AND APPROVING THE EMPLOYMENT OF PACHULSKI STANG ZIEHL & JONES LLP AS
COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, EFFECTIVE AS OF MAY 4, 2016;
DECLARATION OF JEREMY V. RICHARDS IN SUPPORT THEREOF; AND SUPPLEMENTAL STATEMENT
THERETO will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 27, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 27, 2016, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 27, 2016, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA FEDERAL EXPRESS
Honorable Thomas B. Donovan
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1352
Los Angeles, CA 90012
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 27, 2016        Sophia L. Lee                                                              /s/ Sophia L. Lee
 Date                        Printed Name                                                       Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

    • Kyra E Andrassy kandrassy@swelawfirm.com,
    csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
    • Lei Lei Wang Ekvall lekvall@swelawfirm.com,
    csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
    • John D Fiero jfiero@pszjlaw.com, ocarpio@pszjlaw.com
    •John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
    • Barry S Glaser bglaser@swesq.com, erhee@swesq.com
    • David B Golubchik dbg@lnbyb.com, dbg@ecf.inforuptcy.com
    • Gail S Greenwood ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
    • David S Henshaw david@henshawlaw.com, info@henshawlaw.com
    • Jeffrey S Kwong jsk@lnbyb.com, jsk@ecf.inforuptcy.com
    • Ian Landsberg ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-
       law.com;diana@landsberglaw.
    com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com
    • Charles Alex Naegele alex@canlawcorp.com, alexnaegelelaw@gmail.com
    • Victoria Newmark vnewmark@pszjlaw.com
    • Queenie K Ng queenie.k.ng@usdoj.gov
    • Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
    • Mark Romeo romeolaw@msn.com
    • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    • James S Yan jsyan@msn.com

2. SERVED BY UNITED STATES MAIL:

David Trinh
Trinh Law
99 N 1st St, Ste 200
San Jose, CA 95113

Scott Whitman
Scott L. Whitman, Inc.
5670 Wilshire Blvd., Ste. 2170
Los Angeles, CA 90036




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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